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UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE

 

OFI RISK ARBITRAGES, OFI RISK ARB
ABSOLU and TIMBER HILL LLC,
individually and on behalf of all others
similarly situated,

Plaintiffs,
V.

COOPER TIRE & RUBBER COMPANY, ROY
ARMES and BRADLEY HUGHES,

Defendants.

 

 

Civ. A. No. 1:14-cy-00068-LPS

CLASS ACTION

JURY TRIAL DEMANDED

ECF CASE

DECLARATION OF DAVID J. MARGULES IN FURTHER SUPPORT OF MOTION OF
OFI ASSET MANAGEMENT AND TIMBER HILL LLC FOR APPOINTMENT AS
LEAD PLAINTIFF AND APPROVAL OF THEIR SELECTION OF LEAD COUNSEL,
AND IN OPPOSITION TO COMPETING MOTION

David J. Margules (Bar I.D. No. 2254) Vincent R. Cappucci

Albert J. Carroll (Bar 1.D. No. 5316) Andrew J Entwistle

BOUCHARD MARGULES & Robert N. Cappucci
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Liaison Counsel for Proposed Lead Plaintiff

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Counsel for Proposed Lead Plaintiff OFT
Asset Management and Timber Hill LLC and
Proposed Lead Counsel for the Class

Dated: April 4, 2014
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I, David J. Margules, declare as follows:

I, I am a member in good standing of the bars of the State of Delaware and of this
Court. | am a partner in the law firm of Bouchard Margules & Friedlander, P.A. I submit this
declaration in further support of the Motion filed by OFI Asset Management (“OFT”) and Timber
Hill LLC (“Timber Hill”) for: (1) appointment as Lead Plaintiff; (2) approval of their selection of
Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz”) and Entwistle & Cappucci
LLP (“Entwistle & Cappucci”) to serve as Lead Counsel for the Class; and (3) any such further
relief as the Court may deem just and proper, and in opposition to the competing motion.

2. Attached as Exhibits A through G are true and correct copies of the following
documents:

EXHIBIT A: Revised chart of transactions and losses of Timber Hill:

EXHIBIT B: Declaration of Jean-Luc Malafosse in Support of Motion of OF]
and Timber Hill For Appointment as Lead Plaintiff and Approval
of Their Selection of Lead Counsel:

EXHIBIT C: Declaration of Bradford L. Jacobowitz in Support of Motion of
OFI and Timber Hill For Appointment as Lead Plaintiff and
Approval of Their Selection of Lead Counsel;

EXHIBIT D: Solicitation issued by Kahn Swick & Foti, LLC on January 21,
2014 titled, “COOPER TIRE SHAREHOLDER ALERT BY
FORMER LOUISIANA ATTORNEY GENERAL”;

EXHIBIT E: Solicitation issued by Kahn Swick & Foti, LLC on March 14, 2014
titled. “COOPER TIRE 96 HOUR DEADLINE ALERT”;

EXHIBIT F: Solicitation issued by Kahn Swick & Foti, LLC on March 17, 2014
titled, “CTB US: 96 Hour Deadline Alert,” and

EXHIBIT G: Ownership Summary of Cooper Tire & Rubber Co.
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I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

Executed this 4th day of April, 2014.

SWORN TO AND SUBSCRIBED before me
on this, day of April, 2014.

Ounnuer Sora Man

\ Notary Public

 

\i AS

David J. Margules (Bar IND. No. a
aie MARGULES

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